                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


CALEIGH WOOD, et al.,

     Plaintiffs,
                                       Civil Case No. 8: 16-cv-239
     -v.-
                                        Judge George J. Hazel
EVELYN ARNOLD, et al.,

     Defendants.




  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
SUMMARY JUDGMENT AND IN RESPONSE TO DEFENDANTS’ MOTION FOR
                  SUMMARY JUDGMENT
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                                                                       i
                                          INTRODUCTION

          The undisputed facts demonstrate that Plaintiffs’ claims prevail as a matter of law. Plaintiff

Caleigh Wood (“Caleigh”) was forced to endure the disparagement of her Christian faith in her

11th grade world history class, even after her father, Plaintiff John Wood (“Mr. Wood”), informed

Defendants—who had the authority to remove her from the class promoting Islam—that the class

promoted Islam over Christianity a required to complete written professions of the Islamic

profession of faith. Defendants then forced her to continue the instruction without looking at any

of the curricular materials. In response to his complaint, Defendants categorical banned Mr. Wood

from the grounds of his daughter’s school based on his “threat” to contact media and lawyers. Mr.

Wood never made any physical threats. These facts are undisputed. And these facts demonstrate

that the Court should grant Plaintiffs’ motion for summary judgment.

          Defendants’ motion for summary judgment fundamentally misapprehends the legal issues

at stake in this case. When correctly framed, the facts Defendants cite support Plaintiffs’ motion,

not their own. The issue here is not whether the teaching of comparative religions is appropriate.

Plaintiffs do not take issue with comparative religions. Nor is the issue the broad-spectrum,

expansive issue of a year-long world history course. Plaintiffs do not take issue with world history.

What Plaintiffs do take issue with are subjective statements, taught as facts, that disparage the faith

of Christians and promote Islam and Muslims over Christianity and Christians. Plaintiffs also take

issue with the miniscule amount of time that Defendants spent teaching about Christianity

compared to the two weeks Defendants spent promoting the religion of Islam. These—not

comparative religions or world history—are the undisputed facts that must be analyzed under the

applicable case law. Under these undisputed facts, Plaintiffs are entitled to judgment as a matter

of law.



                                                    1
                          STATEMENT OF UNDISPUTED FACTS

I.     DEFENDANTS’ INCORRECT ASSERTIONS OF FACT

       Plaintiffs agree with Defendants’ undisputed facts with the exception of the following

seven facts which were not accurately portrayed or are in dispute:

       First, Defendants state:

              M. The World History class taught by Mr. Bryden was based upon SDE’s
       Core Learning Goals, Content Standards, and the statewide high school
       improvement initiative. See Bryden Tr. 110:2 – 20; see also ARNOLD
       AFFIDAVIT at Exhibit D. Caleigh and Mrs. Wood acknowledged receipt of the
       Course Syllabus issued by Mr. Bryden. See id. The Muslim World (including Islam)
       was introduced as part of the course unit on Middle Eastern empires. See id. In
       studying Word History, students also explored other religions, cultures, politics,
       and geography in the context of their impact on the development of civilization
       during other periods of time.

       Memorandum of Law in Support of Motion for Summary Judgment 11-12, ECF 54-1

(“Defs.’ Memo”). This statement mischaracterizes the facts. While Caleigh and Mrs. Wood

acknowledged receipt of the course syllabus, the syllabus contains no mention of “[t]he Muslim

World (including Islam),” “Middle Eastern Empires,” or “religions.” See Bryden Tr. 108:11-

109:109:16. Notably, in Arnold Aff. Ex. D, Defendants mistakenly suggest that the class syllabus

included four pages when, in fact, it contained only three. The fourth page, attached hereto as

Exhibit 1, was not included in the syllabus. See Bryden Tr. 108:11-109:109:16. This critical

mistake negates any argument or suggestion that the Woods knew about or accepted that their

daughter would be instructed in Islam, or even taught about Islam and Muslims.

       Second, Defendants state:

                S. On Thursday, October 23, 2014, Ms. Pearl returned Mr. Wood’s phone
       call in an attempt to resolve Mr. Wood’s concerns. See Pearl Tr. 23:7 – 24:5; see
       also ARNOLD AFFIDAVIT, ¶ 13 and Exhibit F attached thereto. During her
       telephone call with Mr. Wood, Ms. Pearl made note of Mr. Wood’s aggressive tone,
       loud speaking volume, and constant interruptions. Id. Ms. Pearl referred to the
       World History curriculum in an attempt to convey to Mr. Wood that the students in

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         Caleigh’s class were not encouraged to convert to Islam but, rather, were being
         taught about Middle Eastern empires on which Islam had an influence. See id; see
         also Pearl Tr. 30:16 – 21.

         Defs.’ Memo at 13. The characterization of Mr. Wood’s conversation with Ms. Pearl is in

dispute. Mr. Wood does not refer to the conversation as aggressive or loud. J. Wood Tr. 26:21-

28:18.

         Third, Defendants state:

                  V. At approximately 3:45 p.m. on Thursday, October 23, 2014 – i.e., the
         same day that Ms. Pearl initially made contact with Mr. Wood – Vice Principal
         Morris telephoned Mr. Wood to invite Mr. Wood in for a conference to discuss Mr.
         Wood’s concerns about the World History assignment as relayed to Vice Principal
         Morris by Ms. Pearl. See Morris Tr. 30:5 – 10; see also ARNOLD AFFIDAVIT
         at Exhibit E. Vice Principal Morris informed Mr. Wood that a conference between
         Principal Arnold, Ms. Pearl, Mr. Bryden, and Mr. Wood would be necessary to
         evaluate Mr. Wood’s request that Caleigh be temporarily removed from Mr.
         Bryden’s World History class and be given an alternative assignment. See id.; see
         also Morris Tr. 30:16 – 31:10. Mr. Wood became belligerent and threatening with
         Vice Principal Morris and interrupted her, exclaiming that he was “going to create
         a shit storm like you have never seen,” and refusing to come in for the conference.
         Id. at 31:7 – 10. Additionally, Mr. Wood told Vice Principal Morris that, “you can
         take that fucking Islam and shove it up your white fucking ass!” at which time Vice
         Principal Morris immediately terminated the call. See Morris Tr. 31:14 – 16; see
         also ARNOLD AFFIDAVIT at Exhibit E.

Defs.’ Memo at 14. Ms. Morris never offered to have Mr. Wood come in for a conference. J. Wood

Decl. ¶¶ 22-28; see also J. Wood Tr. 61:8-13. Furthermore, Defendants account cherry picks

quotes out of context, failing to mention that the “shit storm” Mr. Wood mention was the media

and lawyers, not any actual threat. Arnold Aff. Ex. H, ECF 54-2, Page 26; Arnold Aff. Ex. E;

Mersino Decl. Ex. 1. Even Defendant Morris’s initial account of her conversation with Mr. Wood

recognized this: “Mr. Wood said that he planned to ‘call his lawyer and create a shit storm.”

Mersino Decl. Ex. 1; Arnold. Aff. Ex. E. This dispute of fact applies to Defendants’ incorrect and

colorful characterization of the phone call between Mr. Wood and Defendant Morris which




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references in a myriad of ways throughout their statement of facts, including Sections BB. and

DD. This is a material fact that is in disputed even by Defendant Morris’ own varying accounts.

       Fourth, Defendants state:

               Z. . . . one of [Mr. Wood’s] Facebook® friends encouraged Mr. Wood to
       “knife hand them,” to which Mr. Wood responded “I don’t plan on being so nice to
       them either!”

Defs.’ Memo at 15-16. Mr. Wood’s response, “I don’t plan on being so nice to them either!”

is clearly to the comment, “I think they may not be so nice to you” two comments above, not, as

Defendants unreasonably suggest, in response to “knife hand them.” Arnold Aff. Ex. H.

       Fifth, Defendants state:

              FF. . . . Sgt. Kaylor confirmed that the No Trespass Order was issued
       because of Mr. Wood’s behavior and threatening on-line Facebook posts.

Defs.’ Memo at 17. This “fact” is not supported by the evidence. Sgt. Kaylor did not mention Mr.

Wood’s “behavior.” Kaylor Tr. 18:13-19:21. Sgt. Kaylor testified that the no trespass order was

issued exclusively on the Facebook postings. Id.

       Sixth, Defendants state:

              GG. . . . issued the No Trespass Order on Friday, October 24, 2014 based
       upon threats Mr. Wood had made against the school.

Defs.’ Memo at 17. Mr. Wood never made any threats against the school. J. Wood Decl. ¶ 35.

       Seventh, Defendants state:

               HH. Sgt. Kaylor called Mr. Wood, in Principal Arnold’s presence, to inform
       him that a No Trespass Order was being issued against him. See Arnold Tr. 66:17
       – 20; see also ARNOLD AFFIDAVIT, ¶ 17. Despite Mr. Wood’s continued yelling
       and hostile conduct, Sgt. Kaylor informed Mr. Wood that the No Trespass Order
       could be rescinded if he calmed down and met with Principal Arnold. See id; see
       also Arnold Tr. 67:6 – 18. See also Kaylor Tr. 16:7 – 17:8.

       This, again, is incorrect. Sgt. Mark Kaylor, the only person on the phone with Mr. Wood,

described this conversation as “conversational.” Kaylor Tr. 16:7-17:8. He does not mention

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“yelling” and he does not characterize his conduct as “hostile.” Id. Sgt. Kaylor did not discuss Mr.

Wood’s conduct at all as the conversation was exclusively telephonic. Id.

II.    STATEMENT OF ADDITIONAL UNDISPUTED FACTS

       A.      Caleigh Wood was taught that “Most Muslim’s [sic] faith is stronger than the

average Christian [sic]” (emphasis in original) and that “Islam, at heart, is a peaceful religion,”

and was forced to profess in writing that “There is no god but Allah,” in her 11th grade World

History class at La Plata High School. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood

Decl. ¶¶ 6-8. These statements and acts disparaged her Christian faith and promoted Islam over

Christianity. C. Wood Decl. ¶¶ 7-11; M. Wood Decl. ¶¶ 4-8; J. Wood Decl. ¶¶ 15-29.

       B.      When Caleigh Wood refused to complete the assignments that promoted Islam and

demeaned her faith, she received no credit for those assignments, thus affecting her final grade. C.

Wood Decl. ¶ 11.

       C.      The only “threat” Mr. Wood made to anyone at La Plata High School was the threat

to contact the media and lawyers if the school insisted on subjugating Caleigh to instruction in

Islam. J. Wood Decl. ¶¶ 27, 32, 35; see also Mersino Decl. Ex. 1.

       D.      Defendant Arnold, as principal of La Plata High School, had the authority to grant

Caleigh an opt-out or alternate assignment from the world history instruction. Defendant Arnold

did not exercise this authority, even after the Woods brought their concerns with the curriculum to

her attention, instead, forcing Caleigh to undergo instruction in Islam which she believed to be in

disparagement of her Christian faith. Hollstein Tr. 23:11-24:7, 48:17-4.

       E.      Defendant Morris informed Mr. Wood that Caleigh could not receive an opt out

from the curriculum that Caleigh believed supported Islam and demeaned Christianity. J. Wood

Decl. ¶ 25; see also Morris Tr. 79:14-18.



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       F.      Principals are expected to do walk throughs of classrooms to ensure that classes are

being taught in accordance with all applicable policies and law and to monitor instruction. Holstein

Tr. 38:8-39:8. Superintendent Kimberley Hill, during her tenure as a principal, visited each

classroom more than once a month and spent more time, about 65% of her time, walking through

classrooms to monitor teachers than at her desk. Hill Tr. 14:18-16:10. In contrast, Principal Arnold

does not recall if she made even a single walk through to observe Mr. Bryden’s 11 th grade World

History class in the entire 2014/2015 school year. Arnold Tr. 106:18-107:4.

       G.      The principal and vice principals at a school have the responsibility to review what

is being taught in a classroom. Hill Tr. 32:12-33:6.

       H.      Defendant Morris oversaw the social studies department during the 2014/2015

school year at La Plata High School. Pearl Tr. 14:1-17:11; Arnold Aff. Ex. B. This oversight

included monitoring teachers within the social studies department, including Mr. Bryden’s World

History class, to make sure that they were following curriculum expectations. Id.

       I.      Defendant Arnold, during the 2015/2016 school year, was responsible for making

sure that teachers, including Mr. Bryden, were following curriculum. Pearl Tr. 19:4-20:6. This

included the responsibility to look at the curriculum and visit the classrooms. Id.

       J.      Principal Arnold neglected to evaluate the World History curriculum, even after

Mr. Wood made a complaint, failing to even learn the context of curricular materials. Arnold Tr.

37:13-39:8. Principal Arnold did not ask to see the curriculum or ask for any materials related to

the curriculum, instead, she just asked the teacher “if he was following the curriculum.” Arnold

Tr. 41:7-21.

       K.      Jack Tuttle, the curriculum specialist for the Defendants, stated that it is

inappropriate for a public school teacher to tell his class that “Most Muslim’s [sic] faith is stronger



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than the average Christian [sic].” Tuttle Tr. 49:3-11. Mr. Tuttle would not recommend forcing a

child to learn that statement in a classroom. Tuttle Tr. 49:7-11. Mr. Tuttle, the content specialist,

would advise a teacher not to teach such a statement and, since the statement is so “inflammatory”

would notify up the chain of administration to get the statement removed from the classroom if a

teacher continued instructing students that Muslims are stronger in their faith than Christians.

Tuttle Tr. 50:2-51:16.

       L.      Neither Defendant Arnold nor Defendant Morris asked Mr. Tuttle to evaluate the

curriculum, including the document stating that “Most Muslim’s [sic] faith is stronger than the

average Christian [sic],” despite Mr. Wood informing them that he believed that the curriculum in

their school promoted Islam and demeaned Christianity. Tuttle Tr. 63:19-64:6; C. Wood Decl. ¶¶

7-8; Mersino Decl. Ex. 2.

       M.      Faith is unquantifiable. Hollstein Tr. 28:20-29:2. The statement “Most Muslim’s

[sic] faith is stronger than the average Christian [sic]” is not a statement of fact. Id. 26:10-27:10.

       N.      The Maryland State Education Standards do not require a teacher to instruct

students that “Most Muslim’s [sic] faith is stronger than the average Christian [sic].” Hill Tr. 32:4-

11.

                                    STANDARD OF REVIEW

       Plaintiffs agree with the standard of review presented by Defendants. Defs.’ Memo at 18.

                                           ARGUMENT

       Defendants had the duties and responsibilities to monitor classroom instruction, to

investigate parent complaints, and to ensure that classroom instruction remained within the bounds

of all applicable standards, including the Constitution. Hill Tr. 32:12-33:6; 14:18-16:10; Pearl Tr.

19:4-20:6; Hollstein Tr. 38:8-39:8; see also Hill Tr. 14:18-16:10. Despite these duties and



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responsibilities, Defendants never visited the 11th grade world history classroom or reviewed any

portions of the curriculum even after a parent informed them of significant facts supporting his

belief that portions of the curriculum promoted Islam and violated his daughter’s constitutional

rights. J. Wood Decl. ¶ 25; Tuttle Tr. 63:19-64:6; C. Wood Decl. ¶¶ 7-8; Mersino Decl. Ex. 2 see

also Morris Tr. 79:14-18. Without reviewing any documents, based solely on a teacher’s

affirmation that he “was following the curriculum,” Defendant Arnold and Defendant Morris

forced Caleigh to undergo instruction, teaching her that Muslims are stronger in their faith than

she is as a Christian. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl. ¶¶ 6-8;

Mersino Decl. Ex. 2. The undisputed facts of the case show that the Defendants by their actions

and inaction were directly involved in forcing Caleigh to undergo religious instruction in violation

of the United States Constitution.

I.     CALEIGH’S ESTABLISHMENT CLAUSE CLAIM

       There is no dispute that Caleigh was instructed that “Most Muslim’s [sic] faith is stronger

than the average Christian [sic].” C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl.

¶¶ 6-8. This statement alone unconstitutionally promotes Islam over Christianity. The

Establishment Clause provides, “Congress shall make no law respecting an establishment of

religion.” U.S. Const. amend. I. In order to prove that a challenged action does not violate the

Constitution, the Defendants’ actions must survive the test established in Lemon v. Kurtzman, 403

U.S. 602 (1971). To survive constitutional scrutiny under the Lemon test: (1) the activity must

have a secular purpose; (2) the primary effect of the activity must neither advance nor inhibit

religion; and (3) the activity must not cause the government to be excessively entangled in religion.

Mellen v. Bunting, 327 F.3d 355, 372 (4th Cir. 2003). If Defendants’ acts violate any one of the

three prongs, their actions are unconstitutional. Id. Here, Defendants fail all three prongs.



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       First, there is no secular purpose for Defendants forcing Caleigh Wood to learn, as a fact,

that “Most Muslim’s [sic] faith is stronger than the average Christian [sic].” C. Wood Decl. ¶¶ 7-

9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl. ¶¶ 6-8; Mersino Decl. Ex. 2. Defendants seem to argue

that their lesson was secular simply because it took place in a World History class, rather than a

religion class. See Defs.’ Memo at 22. However, the Defendants’ argument fails because it is not

the title of the class that controls whether the content violates the Constitution. To hold otherwise

would mean that the promotion of religion could run rampant in public schools as long as it was

taught in an otherwise standard class. For instance, the literal Biblical view that the world was

created in seven 24-hour days could be validly taught in public school so long as it was taught in

science class. Of course, the Supreme Court has held otherwise in Edwards v. Aguillard, 482 U.S.

578 (1987) (holding that an act requiring creationism to be taught alongside evolutionism in

science class violated the Establishment Clause).

       Defendants attempt to couch their unconstitutional practices by asserting the vague and

irrelevant idea that learning about Islam has a secular purpose. Defs.’ Memo at 22. The

constitutional issue in this case is not simply that Caleigh was taught about Islam in World History,

but rather that Defendants’ curriculum went beyond merely teaching about religion and promoted

Islam as superior to all other religions, including Christianity.

       The idea propounded by the Defendants that learning about religion is perfectly

constitutional is irrelevant. Defendants must support the constitutionality of teaching students

“Most Muslim’s [sic] faith is stronger than the average Christian [sic]” by showing that such

teaching has a secular purpose. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl. ¶¶

6-8; Mersino Decl. Ex. 2. This is something they cannot do. Faith is a deep, personal, and religious

sentiment that is entirely unquantifiable. Hollstein Tr. 28:20-29:2. Even Defendants’ own content



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specialist stated that this statement should not be taught in a public school. Tuttle Tr. 49:3-11,

50:2-51:16. This statement does not have a secular purpose because it does not teach any facts

about Islam or Christianity. There is no purpose, other than the advancement of Islam, for this

subjective statement. Defendants have not cited—because they cannot—any case law providing

that a statement promoting religion is constitutional if the unconstitutional statement is made

within the context of World History. Likewise, Defendants have not cited—because they cannot—

any case law that supports their idea that you can ignore a statement which promotes a specific

religion if it occurs in a class that otherwise has a secular purpose. This idea is preposterous. The

Defendants would never countenance a teacher instructing her students that “the superiority of the

Christian religion over all other religions is self-evident.” The simple reason for this, of course, is

because such a statement, presented by a public school teacher in a public school, would violate

the Establishment Clause of the First Amendment. Similarly, the statement that “Most Muslim’s

[sic] faith is stronger than the average Christian [sic],” when taught by a public school teacher in

a public school classroom, violates the Establishment Clause as a matter of law.

       The Defendants rely heavily on Sch. Dist. of Abington Twp., Pa. v. Schempp, where the

Supreme Court emphasized that a curriculum must be presented “objectively” to have a secular

purpose. 374 U.S. 203, 225 (1963). However, this case actually supports the conclusion that

Defendants violated the Establishment Clause. Here, the statement “Most Muslim’s [sic] faith is

stronger than the average Christian [sic]” is not an objective statement. See Hollstein Tr. 28:20-

29:2, 26:10-27:10. Defendants admit as much when they state that this statement is “wanting in

accuracy.” Defs.’ Memo at 25. The undisputed material facts, when looked at in light of the firmly

established First Amendment jurisprudence reveals that the subjective statement “Most Muslim’s

[sic] faith is stronger than the average Christian [sic]” has no secular purpose and, therefore,



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Defendants violated the Establishment Clause where they, as an exercise of their supervisory

authority over instruction in their school, allowed such teaching to occur, even after it was brought

to their attention.

        Second, in order to determine whether the primary effect of the activity advances or inhibits

religion, this Court must look at whether the effect of the statement “Most Muslim’s [sic] faith is

stronger than the average Christian [sic]” suggests a preference for a particular religious view or

endorses one religious view over the others. Barghout v. Bureau of Kosher Meat & Food Control,

66 F.3d 1337, 1345 (4th Cir. 1995). As Defendants astutely note, “all endorsement of religion,

whether framed in terms of promotion or favoritism, is impermissible.” Defs.’ Memo at 27 (citing

Cty. of Allegheny v. ACLU, 492 U.S. 573, 592-94 (1989)).

        The statement that “Most Muslim’s [sic] faith is stronger than the average Christian [sic],”

by its very terms, asserts a subjective proposition which expresses a view that Islam is preferable

to Christianity. It “is sufficiently likely to be perceived by adherents of the controlling

denomination[,] [Islam,] as an endorsement, and by nonadherents [Christians] as a disapproval, of

their individual religious choices.” Cty. of Allegheny v. ACLU, 492 U.S. 573, 611 (1989); C. Wood

Decl. ¶¶ 7-11; M. Wood Decl. ¶¶ 4-8; J. Wood Decl. ¶¶ 15-29; see also Hollstein Tr. 28:20-29:2,

26:10-27:10; Tuttle Tr. 50:2-51:16. Thus, the statement has the effect of promoting Islam and

Muslim’s by subjectively opining that they are stronger in their faith than Christians.

        Third, Defendants’ curriculum fosters an excessive entanglement in religion. Yet again,

Defendants’ citation on this point supports Plaintiffs’ argument. Defendants rightly note that the

Establishment Clause forbids “the evangelist’s mission statement.” Defs.’ Memo at 27-28 (quoting

Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 867 (1995)). Defendants

themselves admit that teaching that “Christ alone provides spiritual fulfillment,” rather than an



                                                 11
“examination of religious doctrine,” violates the Establishment Clause. Memo at 22 (quoting

Rosenberger v. Rector & Visitors of the Univ., of Va., 515 U.S. 819, 868 (1995)). Here, Defendants

taught as fact a subjective assessment of religious faith, placing Muslims and their faith over

Christians and the Christian faith. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl.

¶¶ 6-8; Mersino Decl. Ex. 2. This is not an examination of religious doctrine; it is government

entanglement and judgment on the most personal and internal religious expression.

       It is clearly established that public schools cannot promote religion and advance Islam as

superior to all other religions. Yet that is exactly what Defendants allowed their teachers to do in

their curriculum. For the foregoing reasons, Plaintiff Caleigh Wood is entitled to summary

judgment against Defendants because they, by their actions and inactions, violated clearly

established law.

II.    CALEIGH WOOD’S FREE/COMPELLED SPEECH CLAIM

       It is without dispute that curriculum implemented and supervised by the Defendants foisted

upon Caleigh Woods the obligation to complete written work which required her to, in writing,

make the Islamic profession of faith (“there is no god but Allah and Muhammed is his messenger”)

or suffer academic consequences. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl.

¶¶ 6-8. While Defendants correctly state that schools may sometimes “force a student to speak

when the student would rather refrain.” Defs.’ Memo at 29 (quoting C. N. v. Ridgewood Bd. of

Educ., 430 F.3d 159, 187 (3d Cir. 2005)). Defendants also correctly assert that “a public

educational institution may not demand that a student profess beliefs or views with which the

student does not agree.” Id. (quoting Ridgewood Bd. of Educ., 430 F.3d at 187). This is exactly

what Defendants have done to Caleigh, making their actions unconstitutional as a matter of law.

C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-20; M. Wood Decl. ¶¶ 6-8.



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       The Supreme Court, in W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624 (1943),

condemned as unconstitutional a school’s requirement that students only declare—not also

believe—the pledge of allegiance, stating, “we are dealing with a compulsion of students to declare

a belief.” Id. at 631-32 (emphasis added). The Court continues:

        If there is any fixed star in our constitutional constellation, it is that no official, high
       or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or
       other matters of opinion or force citizens to confess by word or act their faith
       therein. If there are any circumstances which permit an exception, they do not now
       occur to us.

Id. at 642 (emphasis added). Since the Supreme Court has definitively established that school

officials cannot “force [students] to confess by word . . . their faith” in a particular religion,

Caleigh’s right not to do so is clearly established and Defendants Arnold and Morris are not entitled

to qualified immunity.

       Even analyzed under the Hazelwood standard Defendants’ suggest, Defendants’ actions

violate the First Amendment. As is discussed more fully above, because the Defendants’

curriculum has no secular purpose, it simply cannot be related to a legitimate pedagogical concern

of a public school. Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 273 (1988). The Defendants’

curricular decision to force upon Caleigh Wood a requirement that she submit a written profession

of the Islamic creed cannot be viewed in a vacuum. Defendants forced Caleigh Wood to profess

her belief in Allah alone while, at the same time, instructing her that Muslims are stronger in their

faith than Christians. When view in light of the Establishment Clause claim, it becomes all the

more evident that the curriculum implemented and supervised by the Defendants compelled

Caleigh to confess by written word her faith in Allah. C. Wood Decl. ¶¶ 7-9; J. Wood Decl. ¶¶ 15-

20; M. Wood Decl. ¶¶ 6-8.




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       Thus, Defendants violated clearly established law and Plaintiffs are entitled to summary

judgment.

III.   DEFENDANTS’ NO TRESPASS ORDER VIOLATED MR. WOOD’S FIRST AMENDMENT
       RIGHTS

       By prohibiting Mr. Wood from entering La Plata High School grounds, Defendants have

deprived and are depriving Mr. Wood of his right to speak on and advocate for his daughter’s

curricular and extracurricular activities in violation of the First Amendment. Defendants provide

virtually no analysis, merely pasting lengthy quotes from cases in their brief, because the facts

demonstrate that the only “threat” Mr. Wood made was to contact the media and his lawyers if

Defendants subjected his daughter to an unconstitutional curriculum. J. Wood Decl. ¶¶ 27, 32, 35;

see also Mersino Decl. Ex. 1. Although oddly and amusingly, Defendants attempt to manufacture

a threat out of confetti. Defs.’ Memo at 33.

       The First Amendment provides that “Congress shall make no law . . . abridging the freedom

of speech.” U.S. Const., amend. I. This prohibition is applied to States and their subdivisions,

including public schools, through the Fourteenth Amendment. See Tinker v. Des Moines Indep.

Cmty. Sch. Dist., 393 U.S. 503, 506-07 (1969). The Defendants are clearly attempting to justify

their decision by reference to Mr. Wood’s sometimes coarse language. Their attempts clearly miss

the point that, under the First Amendment, even obnoxious language is entitled to protection. “If

there is a bedrock principle underlying the First Amendment, it is that the government may not

prohibit the expression of an idea simply because society finds the idea itself offensive or

disagreeable.” Snyder v. Phelps, 562 U.S. 443, 458 (2011).




                                               14
        A.      Defendants Banned Mr. Wood’s Protected Speech Because of his Viewpoint
                that Promotion of Islam in Public Schools is Unconstitutional.

        There is a categorical ban on viewpoint discrimination in all types of government property.

Child Evangelism Fellowship v. Anderson Sch. Dist. Five, 470 F.3d 1062, 1067 (4th Cir. 2006).

The government, including public schools, cannot ban “speech based on its substantive content or

the message it conveys.” Id. (quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 828 (1995)). The principal inquiry in determining whether a restriction on speech is imposed

based on the speaker’s viewpoint “is whether the government has adopted a regulation of speech

because of disagreement with the message it conveys.” Ward v. Rock Against Racism, 491 U.S.

781, 791 (1989).

        This rule’s corollary is that “administrators may not possess unfettered discretion to burden

or ban speech, because ‘without standards governing the exercise of discretion, a government

official may decide who may speak and who may not based upon the content of the speech or

viewpoint of the speaker.’” Child Evangelism Fellowship, 470 F.3d. at 1068 (quoting City of

Lakewood v. Plain Dealer Publ'g Co., 486 U.S. 750, 763-64 (1988)). Unless there are standards

in place to protect speech, “post hoc rationalizations by [a school principal] and the use of shifting

or illegitimate criteria are far too easy, making it difficult for courts to determine in any particular

case whether the [principal] is . . . suppressing unfavorable[] expression.” Id. (quoting City of

Lakewood, 486 U.S. at 758-59). These “difficulties of proof and the case-by-case nature of ‘as

applied’ challenges render the [principal’s] action in large measure effectively unreviewable.” Id.

(quoting City of Lakewood, 486 U.S. at 759). Absent ascertainable criteria and clear standards,

“speakers might engage in self-censorship out of fear they would be discriminated against based

upon their views.” Id.




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         In Child Evangelism Fellowship, the Fourth Circuit Court of Appeals reviewed a fee waiver

system that allowed school administrators to waive fees “as determined to be in the district’s best

interest.” Id. at 1069. This “carte blanche” standard could not satisfy the requirement—so

important to viewpoint neutrality—of “narrow, objective, and definite standards.” Id. (quoting

Shuttlesworth v. City of Birmingham, 394 U.S. 147, 151 (1969)); see also Forsyth Cty. v.

Nationalist Movement, 505 U.S. 123, 127 (1992) (holding “maintenance of public order” is not a

sufficiently definite standard).

         Here, Defendants Arnold and Morris banned Mr. Wood from the grounds of his daughter’s

school because they disagreed with his viewpoint that his daughter should receive alternative

assignments to Defendants’ unconstitutional promotion of Islam. J. Wood Decl. ¶¶ 22-27, 29-30,

32, 33-36. Their disagreement with Mr. Wood’s message is the sole reason for the no-trespass

order. See, e.g., J. Wood Decl. ¶ 32; Mersino Decl. Ex. 2.

         Defendant Arnold exercised unfettered discretion1 to ban Mr. Wood from his daughter’s

school because she and Defendant Morris wanted to quash criticism of their pro-Islamic

curriculum. J. Wood Decl. ¶¶ 34, 37-38; M. Wood Decl. ¶ 16; Ex. A. This exercise of unfettered

discretion allowed Defendants Arnold and Morris to create post hoc rationalizations—such as

making homework confetti—for the no-trespass order banning Mr. Wood for “threatening” the

school with a lawsuit and media coverage to expose Defendants’ unconstitutional practices. J.



1
  While Md. Educ. Code Ann. § 26-102, which Defendant Arnold cited as her authority for banning Mr. Wood, does
contain some standards, Mr. Wood’s telephone conversation clearly does not fall within any of the behaviors subject
to a no-trespass order. The only behavior applicable to non-students is “[acting] in a manner that disrupts or disturbs
the normal educational functions of the institution.” Md. Educ. Code Ann. § 26-102(b)(3). “The only sensible reading
of the statute is that there must . . . be an ‘actual disturbance.’” In re Jason W., 837 A.2d 168, 175 (Md. 2003). Mr.
Wood never disrupted or disturbed the normal educational functions of La Plata High School as he never stepped foot
on the grounds after his phone conversation with Defendant Morris. Defendant Arnold banned Mr. Wood from the
school grounds based exclusively on Defendant Morris’ opinion of a telephone conversation. “The absence of
constraining standards . . . in administrators’ practice renders [a policy] incompatible with the First Amendment.”
Child Evangelism Fellowship, 470 F.3d at 1072.

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Wood Decl. ¶¶ 27, 30, 32. This is comparable to the carte blanche standard prohibited in Child

Evangelism Fellowship. Between the time of Mr. Wood’s phone conversations with Defendant

Morris and the issuance of the no-trespass order, Mr. Wood did not step foot on or near La Plata

High School grounds. J. Wood Decl. ¶ 32.

       Defendant Arnold, pursuant to the policies and practices of the Board of Education of

Charles County, exercised her unfettered discretion to ban Mr. Wood from the school premises

(which, in turn, prevented him from further exercising his First Amendment right to complain

about the curriculum) for pointing out the unconstitutionality of her school’s curriculum. J. Wood

Decl. ¶¶ 32, 34, 37-38; M. Wood Decl. ¶ 16; Ex. A. This suppression of Mr. Wood’s speech is

unconstitutional viewpoint discrimination.

       B.      Defendants Suppression of Mr. Wood’s Protected Speech with a Categorical
               Ban from a Limited Public Forum is Not the Least Restrictive Means of
               Furthering a Compelling Governmental Interest

       Even if this Court determines that the Defendants did not silence Mr. Wood based on his

viewpoint, the Defendants’ restrictions on his speech still cannot withstand constitutional scrutiny.

The Fourth Circuit utilizes a three-part test to determine whether a plaintiff has been deprived his

freedom of speech. First, the court must determine that “the plaintiff has engaged in ‘protected

speech.’” Goulart v. Meadows, 345 F.3d 239, 246 (4th Cir. 2003) (quoting Cornelius v. NAACP

Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 797 (1985)). Second, “the court ‘must identify the

nature of the forum.’” Id. (quoting Cornelius, 473 U.S. at 797). Third, the court “‘must assess

whether the justifications for exclusion from the relevant forum satisfy the requisite standard.’” Id.

(quoting Cornelius, 473 U.S. at 797).




                                                 17
              i.       Mr. Wood Engaged in Protected Speech

       The category of “protected speech” is so vast that “even dry information, devoid of

advocacy, political relevance, or artistic expression, has been accorded First Amendment

protection.” Id. at 248. When a person engages or attempts to engage in “pure speech,” unlike

expressive conduct, it is not difficult to establish that the First Amendment applies and protects

the speech at issue. Id. at 247. Undoubtedly, speech concerning “instruction of the young,” see id.

(quoting Roberts v. United States Jaycees, 468 U.S. 609, 636 (1984) (O’Connor, J. concurring),

and “the advancement of truth” are topics protected under the First Amendment. Id. (quoting Roth

v. United States, 354 U.S. 476, 484 (1957)).

       Here, not only did Defendants ban Mr. Wood for exercising his First Amendment right to

free speech, but the no-trespass order was also a prior restraint on his ability to exercise his First

Amendment rights on school grounds in the future. C.f. Near v. Minn., 283 U.S. 697, 718 (1931)

(“The fact that for approximately one hundred and fifty years there has been almost an entire

absence of attempts to impose previous restraints upon publications relating to the malfeasance of

public officers is significant of the deep-seated conviction that such restraints would violate

constitutional right.”); J. Wood Decl. ¶ 32. Defendants banned Mr. Wood from school grounds—

effectively and categorically banning all speech, including protected speech. Huminski v.

Corsones, 396 F.3d 53, 92 (2d Cir. 2004); Wilson v. N. E. Indep. Sch. Dist., 2015 U.S. Dist. LEXIS

132324, at *8 (W.D. Tex. Sep. 30, 2015). Had Defendants not banned Mr. Wood, he would have

advocated his position against promoting Islam in the schools at PTSO meetings and other events.

J. Wood Decl. ¶¶ 39-43; M. Wood Decl. ¶¶ 15, 17-20; Ex. B. The First Amendment

unquestionably protects this speech activity.




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             ii.         La Plata High School is a Limited Public Forum

       A limited public forum “is not traditionally public, but the government has purposefully

opened [it] to the public, or some segment of the public, for expressive activity.” ACLU v. Mote,

423 F.3d 438, 443 (4th Cir. 2005) (emphasis added) (finding a school campus a limited public

forum). “[P]ublic school facilities [like La Plata High School] during after school hours . . . clearly

are limited public fora.” Goulart, 345 F.3d at 246. Therefore, because Defendants opened La Plata

High School grounds for parents to receive information and exchange ideas, they created a limited

public forum. See J. Wood Decl. ¶ 42.

            iii.         Defendants Cannot Exclude Speech Based on the Speaker or the Content of
                         his Speech in a Limited Public Forum

       When the government opens its property and creates a limited public forum, it “is not

required to . . . allow persons to engage in every type of speech . . . [and] may be justified in

reserving its forum for certain groups or for the discussion of certain topics.” Goulart, 345 F.3d at

249-50 (internal citations, quotation marks, and brackets omitted). When “the government

excludes a speaker who falls within the class to which a designated [limited] public forum is made

generally available . . . the government’s action is subject to strict scrutiny.” Id. at 250; Mote, 423

F.3d at 444; see also Henrico Prof'l Firefighters Asso. v. Bd. of Supervisors, 649 F.2d 237, 242-

43 (4th Cir. 1981) (holding “the status of the speaker . . . [cannot] be invoked as the reason for

denying [] the opportunity to present views which the [government entity] would listen to if

presented by others”).

       Mr. Wood is the parent of a student at La Plata High School, undoubtedly within the class

to whom parent/teacher conferences, Parent Teacher School Organization meetings and events,

and celebratory events honoring his daughter at the school are made generally available. Ex. B.

Therefore, Mr. Wood’s exclusion from these events for over a year “must be narrowly tailored to

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serve a compelling governmental interest.” Greater Balt. Ctr. for Pregnancy Concerns v. Mayor

& City Council, 683 F.3d 539, 552 (4th Cir. 2012). When, as here, the regulation curtailing free

speech is against an individual, and not the public generally, the Court must use a “more stringent

application” of strict scrutiny—“the most demanding test known to constitutional law.”

Madsen v. Women's Health Ctr., 512 U.S. 753, 765 (1994); City of Boerne v. Flores, 521 U.S. 507,

534 (1997) (emphasis added).

                       1.      The No-trespass Order Does Not Serve a Compelling Governmental
                               Interest

       Defendants have no interest, much less a compelling one, for banning a father from the

grounds of his daughter’s school because he disagrees with the school’s unconstitutional

curriculum. For Defendants to demonstrate a compelling interest, they “must specifically identify

an actual problem in need of solving.” Ctr. for Pregnancy Concerns, 683 F.3d at 556 (quoting

Brown v. Entm't Merchants Ass’n, 131 S. Ct. 2729, 2740 (2011)) (internal quotation marks and

citations omitted). Mere “anecdote[s] and supposition [do not] support a speech restriction.” Id.

(quoting United States v. Playboy Entertainment Group, Inc., 529 U.S. 803, 822 (2000)). “Where

the State has opened a forum for direct citizen involvement, it is difficult to find justification for

excluding [those] . . . who are most vitally concerned with the proceedings.” Madison Joint Sch.

Dist. v. Wis. Emp't Relations Comm'n, 429 U.S. 167, 175 (1976).

       Furthermore, it is antithetical to the principals of the First Amendment and to the interests

of the government to prohibit speech pointing out unconstitutional practices. C.f. Lane v. Franks,

134 S. Ct. 2369, 2379 (2014) (“It would be antithetical to our jurisprudence to conclude that the

very kind of speech necessary to prosecute corruption by public officials—speech by public

employees regarding information learned through their employment—may never form the basis

for a First Amendment retaliation claim.”). “It is essential” that “members of a community most

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likely to have informed and definite opinions” are able to “speak out freely” without fear of

retaliation. Pickering v. Bd. of Educ., 391 U.S. 563, 572 (1968).

       Here, Mr. Wood was expressing his concerns with the unconstitutional promotion of Islam

in Defendants’ school by subjecting his daughter to attacks on her faith by propounding subjective

statements such as “Most Muslim’s [sic] faith is stronger than the average Christian [sic].” J. Wood

Decl. ¶¶ 22-27, 29-32. The only claim Defendants made to support the no-trespass order was that

Mr. Wood: (1) “would visit the school the following Monday,” which is especially ironic

considering Defendant Morris was adamant that she invited him to come to the school, Morris Tr.

30:5 – 10; (2) would shred his daughter’s homework to use as confetti; and (3) try not to get

arrested in response to someone else’s comment. Defs.’ Memo at 33. Defendants’ bald assertion

that statements of Mr. Wood were “threats” “ignore[s] the ancient wisdom that calling a thing by

a name does not make it so.” Madison, 429 U.S. at 174.

       The Defendants undoubtedly do have a compelling interest in having parents express their

views and bring constitutional violations to light. Defendants most certainly have no interest in

silencing Mr. Wood or banning him from school grounds for making his constitutional concerns

known in a constitutionally permissible way.

                       2.     Defendants’ Absolute Ban is Not Narrowly Tailored

       Even if the Court assumes that Defendants had an interest in eliminating Mr. Wood’s

access to La Plata High School grounds, the absolute, categorical ban is not tailored at all—let

alone narrowly tailored—as it entirely forecloses any means of communication. C.f. Hill v. Colo.,

530 U.S. 703, 726 (2000) (“when a content-neutral regulation does not entirely foreclose any

means of communication, it may satisfy the tailoring requirement even though it is not the least

restrictive or least intrusive means of serving the statutory goal”) (emphasis added); see also Cyr,



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60 F. Supp. 3d at 548. In order for a restriction on speech to be narrowly tailored, it must be the

“least restrictive alternative” to serve the government’s purpose. Ctr. for Pregnancy Concerns,

683 F.3d at 556. “A statute is narrowly tailored if it targets and eliminates no more than the exact

source of the ‘evil’ it seeks to remedy.” Id. at 557 (quoting Frisby v. Schultz, 487 U.S. 474, 485

(1988)). A regulation on speech is not narrowly tailored when it is “overinclusive” or “when the

government has other, less speech-restrictive alternatives available.” Id. (citing Simon & Schuster,

Inc. v. Members of the N.Y. State Crime Victims Bd., 502 U.S. 105, 120-21 (1991); Playboy Entm't

Group, 529 U.S. at 816-17). The no-trespass order is overinclusive and is not the least speech-

restrictive alternative available.

        Here, ostensibly because Defendant Morris claimed Mr. Wood’s protected free speech was

a “threat,” Defendants unconditionally banned Mr. Wood from school grounds at all hours of the

day for over a year. J. Wood Decl. Ex. A. There are many less restrictive means Defendants could

have used to protect against a perceived “threat,” such as, moving parent meetings to a neutral

location, requiring Mr. Wood to maintain a certain distance from Defendants Arnold and Morris,

limiting the no-trespass order’s indefinite ban to a specified time, or at least allowing Mr. Wood

on school grounds if he remained in his car so he could pick his daughter up from school protecting

her from walking off campus unaccompanied. The sweeping, categorical ban against Mr. Wood’s

speech is overinclusive and not the least restrictive means available. Therefore, it is not narrowly

tailored and violates Mr. Wood’s First Amendment rights. Bd. of Airport Comm'rs v. Jews for

Jesus, 482 U.S. 569, 575 (1987) (“We think it obvious that [“a sweeping”] ban [on First

Amendment activities] cannot be justified even [in a] nonpublic forum because no conceivable

governmental interest would justify such an absolute prohibition of speech.”); Huminski, 396 F.3d

at 92 (holding that categorical no-trespass orders “do not meet the test for reasonableness”)



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(emphasis in original); Barna v. Bd. of Sch. Dirs., 2015 U.S. Dist. LEXIS 151129, at *35-36 (M.D.

Pa. Nov. 6, 2015) (holding that an absolute ban from school grounds is not narrowly tailored);

Wilson, 2015 U.S. Dist. LEXIS 132324, at *17 (holding that a categorical ban from school grounds

has no tailoring); Cyr, 60 F. Supp. 3d at 548 (holding that a categorical ban from school grounds

is not tailored in response to the threat when the parent visited the school almost every day, stalked

school employees, and shook his fist at school employees); Stevens v. Sch. City of Hobart, 2015

U.S. Dist. LEXIS 106349, at *36 (N.D. Ind. Aug. 6, 2015) (holding that the categorical ban of a

teacher who molested a student from school grounds was not narrowly tailored); Brown v. City of

Jacksonville, 2006 U.S. Dist. LEXIS 8162, at *2 (M.D. Fla. Feb. 16, 2006) (holding that a

“sweeping ban” from city council meetings that lasted only three months was not narrowly

tailored).

        While principals and school administrators are afforded some authority, the law clearly and

plainly prohibits school administrators from suppressing the speech of a parent who disagrees with

the curriculum, even when the parent uses the curriculum as confetti. Thus, Plaintiff John Wood

is entitled to summary judgment under the facts even as Defendants describe them. In the

alternative, if the Court determines that Defendants’ story of Mr. Wood’s actions do not support a

judgment in favor of the Plaintiff, there is a genuine and material dispute of fact and Defendants

are not entitled to summary judgment.

IV.     CALEIGH’S ARTICLE 36 CLAIM

        Article 36 of the Declaration of Rights of the Constitution of Maryland give[s] extensive

protection to religious liberty.” McMillan v. State, 258 Md. 147, 151 (1970). It expressly condemns

Defendants’ actions in Article 36— “Nothing shall . . . require the making reference to belief in,

reliance upon, or invoking the aid of God or a Supreme Being in any governmental . . . school . .



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.” Md. Decl. of Rights 36. There is no ruling “that Article 36 . . . does not give rise to a private

cause of action for damages.” Jenkins v. Kurtinitis, 2015 U.S. Dist. LEXIS 34772 at *98 (D. Md.

March 20, 2015. Thus, as is explained in great detail above, the curriculum enacted and supervised

by the Defendants required Caleigh to engage in a written profession of the Islamic creed that

“there is no god but Allah and Mohammed is his prophet.” C. Wood Decl. ¶¶ 7, 9. This clearly

required her to make reference to belief in a Supreme Being as stated by this Islamic religion. For

this reason, Caleigh is entitled to summary judgment under Article 36.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

for summary judgment and deny Defendants’ motion for summary judgment.

Date: June 29, 2017                                  Respectfully submitted,


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